Case 18-54894-jrs            Doc 14      Filed 03/23/18 Entered 03/23/18 10:42:53                 Desc Main
                                         Document      Page 1 of 1
                                             Duluth Travel Inc
                                               Profit & Loss
                                    January 2015 through December 2017

                                                  Jan - Dec 15    Jan - Dec 16    Jan - Dec 17      TOTAL
   Ordinary Income/Expense
        Income
           Commissions                              419,579.85      423,147.54      409,736.73     1,252,464.12

              Sales                                5,900,076.13    6,211,919.36    6,744,601.92   18,856,597.41

        Total Income                               6,319,655.98    6,635,066.90    7,154,338.65   20,109,061.53

        Cost of Goods Sold
          Travelport Segments                              0.00      174,236.54            0.00      174,236.54
          Travel Costs - TI                                0.00       99,232.15           30.56       99,262.71
          Concur Transaction Fees-VA Bene            187,210.02      443,329.32      264,478.65      895,017.99
          Cost of Travel Sales                     1,585,057.09    1,687,993.91    1,675,161.46    4,948,212.46

        Total COGS                                 1,772,267.11    2,404,791.92    1,939,670.67    6,116,729.70

      Gross Profit                                 4,547,388.87    4,230,274.98    5,214,667.98   13,992,331.83

        Expense
          Continuing Education                            0.00            0.00          438.00          438.00
          Equipment Lease                               950.35        1,505.77        1,697.63        4,153.75
          Bank Service Charges                       32,678.47       28,300.74       28,514.91       89,494.12

              Sales & Marketing                     101,102.37       68,019.28      136,538.21      305,659.86

              Automobile Expense                      8,549.32       16,465.72       10,669.99       35,685.03
              Depreciation Expense                    8,050.10        4,979.40        1,395.14       14,424.64
              Computer and Internet Expenses        117,226.00       91,753.09      119,732.59      328,711.68
              Charitable Contribution                10,068.00          800.00        5,978.00       16,846.00
              Dues & Subscriptions                    7,916.47        7,347.60       10,712.69       25,976.76
              Fees                                   15,525.00        1,564.50        1,008.00       18,097.50

              Insurance Expense                     273,319.26      268,537.30      326,821.43      868,677.99
              Interest Expense                       12,097.04       33,433.05       29,150.74       74,680.83
              License                                     0.00        2,934.45            0.00        2,934.45
              Meals and Entertainment                32,076.64       24,754.76       32,784.00       89,615.40
              Office Expenses                        50,874.94       30,075.56       27,275.87      108,226.37

              Outside Services                        14,961.42       12,100.00        8,480.00       35,541.42
              Payroll Expenses                     3,193,365.38    2,938,493.32    3,004,765.94    9,136,624.64

              Taxes & Licenses                       16,070.43       12,572.37        5,703.82       34,346.62
              Postage & Delivery                      6,129.97        6,127.33        4,911.63       17,168.93
              Profit Sharing Plan                    39,646.33       37,483.68       36,046.44      113,176.45
              Rent Expense                          160,989.00      150,000.00      162,500.00      473,489.00
              Repairs and Maintenance                 4,578.64        1,743.54        1,288.33        7,610.51
              Travel Expense                         29,514.23        9,765.17       22,431.60       61,711.00
              Utilities                              90,826.46       71,684.76       84,074.47      246,585.69

        Total Expense                              4,226,515.82    3,820,441.39    4,062,919.43   12,109,876.64

   Net Ordinary Income                              320,873.05      409,833.59     1,151,748.55    1,882,455.19

   Other Income/Expense
     Other Income
        Interest Income                                 586.69           29.33             6.21         622.23

      Total Other Income                                586.69           29.33             6.21         622.23

      Other Expense
        Attorney Fees                               422,374.94      364,189.45      461,855.68     1,248,420.07
        State Corporate Income Tax                        0.00            0.00           10.00            10.00
        Ask My Accountant                                 0.00            0.00            0.00             0.00

      Total Other Expense                           422,374.94      364,189.45      461,865.68     1,248,430.07

   Net Other Income                                 -421,788.25     -364,160.12     -461,859.47   -1,247,807.84

 Net Income                                         -100,915.20      45,673.47      689,889.08      634,647.35



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